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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,

v.                                            Case No. 3:23-cr-88/MCR-05

LARRY CLAY, JR.,

     Defendant.
_____________________________/

                   ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, LARRY CLAY, JR., to Count One of the superseding indictment is

hereby ACCEPTED. All parties will appear before this Court for sentencing as

directed.

      DONE and ORDERED this 13th day of June 2024.

                               M. Casey Rodgers
                               M. CASEY RODGERS
                               UNITED STATES DISTRICT JUDGE
